 Case: 1:19-cv-00045-TSB Doc #: 20-1 Filed: 06/28/19 Page: 1 of 3 PAGEID #: 251


From:               Horwitz, Matthew (USAOHS)
To:                 Michele Young
Cc:                 ptoren@petertoren.com; Koller, Kevin (USAOHS)
Subject:            RE: Chen v. USA, 1:19-cv-45
Date:               Monday, May 20, 2019 8:59:04 AM


Michele and Peter,

We calculated that your brief in response to the United States’ Motion to Dismiss was due Friday.
Please advise regarding the status of this matter.

Matt

Matthew J. Horwitz
Assistant United States Attorney
U.S. Attorney’s Office for the Southern District of Ohio
221 E. Fourth Street, Suite 400
Cincinnati, Ohio 45202
(513) 684-6823 (Telephone)
(513) 684-6972 (Fax)
Matthew.Horwitz@usdoj.gov


From: Michele Young <michele@michelelyounglaw.com>
Sent: Monday, April 1, 2019 12:00 PM
To: Horwitz, Matthew (USAOHS) <MHorwitz@usa.doj.gov>
Cc: ptoren@petertoren.com; Koller, Kevin (USAOHS) <KKoller@usa.doj.gov>
Subject: Re: Chen v. USA, 1:19-cv-45

Fine!

- Michele Young

On Apr 1, 2019, at 9:35 AM, Horwitz, Matthew (USAOHS) <Matthew.Horwitz@usdoj.gov> wrote:

        Michelle,

        I hope you had a good weekend.

        Attached is a draft stipulation for extension of time. Please let me know if this looks ok
        to file.

        Thank you again for your agreement on this.

        Matt

        Matthew J. Horwitz


                                                                                             EXHIBIT A
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    Assistant United States Attorney
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    221 E. Fourth Street, Suite 400
    Cincinnati, Ohio 45202
    (513) 684-6823 (Telephone)
    (513) 684-6972 (Fax)
    Matthew.Horwitz@usdoj.gov


    From: Michele Young <michele@michelelyounglaw.com>
    Sent: Friday, March 29, 2019 3:31 PM
    To: Horwitz, Matthew (USAOHS) <MHorwitz@usa.doj.gov>
    Cc: ptoren@petertoren.com; Koller, Kevin (USAOHS) <KKoller@usa.doj.gov>
    Subject: Re: Chen v. USA, 1:19-cv-45

    Thank you so much. Have a great weekend.

    - Michele Young

    On Mar 29, 2019, at 2:57 PM, Michele Young <michele@michelelyounglaw.com>
    wrote:

          Matthew,

          We are looking forward to working with you.

          Of course, we support your request for extension.


                 Michele and Peter,

                 Good morning. I hope you are both doing well.

                 Kevin and I are the assigned AUSAs for the Chen FTCA
                 lawsuit.

                 We plan on seeking a three-week extension of time to file
                 and Answer or Motion in response to Plaintiff’s Complaint.
                 Can you please let us know if you oppose that request? If
                 you do not oppose the request, we will prepare a stipulation
                 pursuant to local rules. We calculate the current answer
                 deadline as April 5, so the proposed new deadline would be
                 April 26.

                 If you have any questions or want to discuss, please feel free
                 to call or email us at your convenience.
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                We look forward to working with you on this case.

                Thanks!

                Matt

                Matthew J. Horwitz
                Assistant United States Attorney
                U.S. Attorney’s Office for the Southern District of Ohio
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                Cincinnati, Ohio 45202
                (513) 684-6823 (Telephone)
                (513) 684-6972 (Fax)
                Matthew.Horwitz@usdoj.gov


    <Joint Stipulation for Extension.docx>
